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   Page 2: NOW ILLEGAL LEAKS FROM A CORRUPT & HIGHLY POLITICAL
   MANHATTAN DISTRICT ATTORNEYS OFFICE, WHICH HAS ALLOWED NEW
   RECORDS TO BE SET IN VIOLENT CRIME & WHOSE LEADER IS FUNDED BY
   GEORGE SOROS, INDICATE THAT, WITH NO CRIME BEING ABLE TO BE PROVEN, &
   BASED ON AN OLD & FULLY DEBUNKED (BY NUMEROUS OTHER PROSECUTORS!)
   FAIRYTALE, THE FAR & AWAY LEADING REPUBLICAN CANDIDATE & FORMER
   PRESIDENT OF THE UNITED STATES OF AMERICA, WILL BE ARRESTED ON
   TUESDAY OF NEXT WEEK. PROTEST, TAKE OUR NATION BACK!
   30.9k ReTruths 86.7k Likes                                                                  Mar 18, 2023, 7:26 AM


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